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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                 *
                                               *
       v.                                     *           Case No.: 1:21-cr-0084-PLF-2
                                               *
DANIEL P. ADAMS                       *

*      *       *      *       *       *       *           *     *     *      *     *      *         *

                   MOTION TO MODIFY CONDITIONS OF RELEASE


       COMES NOW the Defendant by and through his attorney, Gary E. Proctor, and

respectfully requests that this Honorable Court grant the modification requested herein, and in

support of his motion states as follows:

       1.      On April 9, 2021 this Court released Mr. Adams. Among Mr. Adams’ conditions

               of release, he was ordered to “not possess a firearm, destructive device, or other

               weapon.” ECF at 2.

       2.      From the time of his release to the present, Mr. Adams has remained compliant

               with all terms of his pre-trial release.

       3.      For the majority of his life, Defendant has participated in wildlife management by

               engaging in the practice of subsistence hunting.

       4.      The practice of subsistence hunting allows the Defendant and his family to save a

               considerable amount on groceries.

       5.      Prior to this case, the Defendant had traveled for four years to San Augustine,

               Texas for the purpose of subsistence hunting. The Defendant has utilized land that

               is a “hunting lease,” which is leased by his friends Neal and Shirley Hood. In the

               past, the Defendant has abided by all of the rules and regulations of the hunting

               lease and of the state of Texas.



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       6.      The Defendant now seeks permission from the Court to go bow hunting in San

               Augustine, Texas for the purpose of replenishing his family’s meat supply. San

               Augustine, Texas is approximately an hour and a half away from Defendant’s

               home.

       7.      In compliance with his bond conditions, Mr. Adams’ bow and arrows are currently

               locked away at the hunting cabin leased by Neal and Shirley Hood in San

               Augustine, Texas and are not in his possession at this time. The bow and arrows

               would remain locked away at that cabin except for when being used by the

               Defendant while hunting in San Augustine.

       8.      The Defendant would report any and all trips to San Augustine, Texas for the

               purposes of hunting to his Pretrial Officer.

       9.      Counsel has spoken with United States Pretrial Officers Andrew Delpratt and

               Da’Shanta D. Valentine-Lewis who have indicated that they will defer to the

               Court because of the nature of the request.

       10.     Judge Royce C. Lamberth recently signed an order allowing another Defendant

               facing charges arising out of the events of January 6, 2021 to engage in the

               practice of subsistence hunting with lawfully owned firearms. See United States v.

               Jon Thomas Mott, Crim. No. 21-cr-464, ECF 42 (D. D.C. Sept. 26, 2022).



       WHEREFORE, the Defendant prays this Honorable Court sign the attached order and

amend Mr. Adams’ conditions of pretrial release.
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                                                     Respectfully submitted,


                                                                      /s/ __________________
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                                                     Attorney for Defendant


                                 CERTIFICATE OF SERVICE

         I hereby certify that on this day, October 24, 2022 a copy of the attached was served on
all parties via ECF.

                                                                       /s/ _________________
                                                     Gary E. Proctor
